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                             Exhibit 6
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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 17-cv-60426-UU


  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/

                                   DECLARATION OF ROY CYSNER

            I, Roy Cysner, declare as follows:

            1.        I am Controller of Defendant BuzzFeed, Inc. (“BuzzFeed”). I submit this

  declaration in support of Defendants’ motion to dismiss this action for lack of personal

  jurisdiction or, in the alternative, transfer it to the Southern District of New York. I am familiar

  with the facts herein and make this declaration from my own personal knowledge.

            2.        BuzzFeed is a digital media company, which publishes content on its website

  located at www.buzzfeed.com (“Buzzfeed.com”) and through mobile apps on iPhones, iPads,

  and Android devices. BuzzFeed also distributes its content through third party platforms, like

  Facebook and Snapchat.

            3.        BuzzFeed is incorporated under the laws of Delaware. Its headquarters, which is

  its principal place of business, has been located in New York City since it was founded in 2006,

  and is currently at 111 East 18th Street, 13th Floor, New York NY 10003.

            4.        In addition to its headquarters in New York City, BuzzFeed has offices in Los

  Angeles, Minneapolis, San Francisco, Washington, DC, Chicago, Sydney, Toronto, Sao Paolo,



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